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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               WICHITA FALLS DIVISION

RICHARD B. ROPER, Receiver,                      §
                                                 §
      Garnishor,                                 §
V.                                               §
                                                 §
FIFTH THIRD BANK                                 §
                                                 §   Civil Action No. ___________
     Garnishee,                                  §
V.                                               §
                                                 §
JANE C. CAITO                                    §
                                                 §
     Judgment Debtor/Defendant                   §

                       APPLICATION FOR WRIT OF GARNISHMENT

TO THE HONORABLE COURT:

       Plaintiff, Richard B. Roper, Receiver files this application for Writ of Garnishment pursuant

to Federal Rules of Civil Procedure 64 and 69, Texas Rule of Civil Procedure 658, and Chapter 63 of

the Texas Civil Practice & Remedies Code, and respectfully shows the Court as follows:

                                          I.      PARTIES

       Plaintiff in Garnishment is Richard B. Roper, Receiver (“Garnishor”). Richard B. Roper,

Receiver is a judgment creditor of Jane C. Caito (the “Judgment Debtor”).

       Fifth Third Bank (“Garnishee”) is a financial institution doing business in the state of Texas

and may be served by delivering the writ to its registered agent. Upon information and belief,

Garnishee is a federally chartered national bank with its principal place of business in 38 Fountain

Square Plaza, Cincinnati, OH 45263 USA.

       Richard B. Roper, Receiver believes that Garnishee is indebted to Judgment Debtor because

one or more accounts at Garnishee are in the name of the Judgment Debtor.
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        Judgment Debtor is Jane C. Caito, who is an individual residing in Cleveland, Ohio. Upon

issuance and service of the writ upon the Garnishee, Judgment Debtor may be served at her residence

located in Cleveland, Ohio.

                                II.     JURISDICTION AND VENUE

        This court has jurisdiction over this matter pursuant to 28 U.S.C. §1332(a)(1) because there is

complete diversity between the parties and the amount in controversy exceeds $75,000, excluding

interests and costs.

        Venue is proper in this Court because the original proceeding in which judgment was entered

in favor of Garnishor and against Judgment Debtor was docketed in this Court in Cause No. 7:11-cv-

00031-0; Roper v. Mitchell Abbott et al, in the Northern District of Texas, Wichita Falls Division.

                         III.    ISSUANCE OF WRIT OF GARNISHMENT

        On March 29, 2012, Richard B. Roper, Receiver obtained a judgment against Jane C.

Caito for the sum of a principal balance of $84,000.00 plus post-judgment interest at a rate of

0.12% per annum. A true and correct copy of the Final Judgment is attached to the Affidavit of

Richard B. Roper,       attached hereto as Exhibit A (“Richard B. Roper Affidavit”), and

incorporated herein by reference. See Richard B. Roper Affidavit at ¶3, Ex. A-1. As of April 13,

2015 the total judgment amount is $84,000.00.

        Said judgment is valid and subsisting and remains unsatisfied. See Richard B. Roper

Affidavit at ¶4.

        Judgment Debtor does not possess, within Richard B. Roper, Receiver’s knowledge, any

property in Texas subject to execution sufficient to satisfy said judgment. See Richard B. Roper

Affidavit at ¶5.

        This garnishment is not sought to injure or harass either the Judgment Debtor or the

Garnishee. See Richard B. Roper Affidavit at ¶6.
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       Richard B. Roper, Receiver has reason to believe, and does believe, that Garnishee is

indebted to the Judgment Debtor by reason of one or more bank accounts, in the name of Jane C.

Caito. See Richard B. Roper Affidavit at ¶7.

       Pursuant to Federal Rule of Civil Procedure 64, the remedies of the State of Texas are

available for the seizure of property for the purpose of securing satisfaction of the judgment. The

applicable statutes and rules for issuance of a writ of garnishment under Texas law are set forth

in Texas Civil Practices & Remedies Code §§63.001, et seq.

       Richard B. Roper, Receiver is entitled to the issuance of a writ of garnishment on the

grounds stated above and in the attached affidavit of Richard B. Roper.

                                       IV.     CONCLUSION

       WHEREFORE, Richard B. Roper, Receiver respectfully asks that a Writ of Garnishment

be issued and served upon the said Garnishee and that Richard B. Roper, Receiver have

judgment against Garnishee to satisfy the judgment against Judgment Debtor, as provided by

law, together with all costs of court incurred in this proceeding, and such other and further relief

to which Richard B. Roper, Receiver may be justly entitled.

DATED: July 21, 2015

                                                     Respectfully Submitted,
                                                     Lam, Lyn & Philip, P.C.


                                               By:   _/s/ Radha Thiagarajan_______
                                                     Kurt L. Lyn
                                                     State Bar No. 00786078
                                                     Federal ID No. 16587
                                                     Radha Thiagarajan
                                                     State Bar No. 00784154
                                                     Federal ID No. 20217
                                                     3555 Timmons Lane, Ste 790
                                                     Houston, Texas 77027
                                                     Phone: 713-981-0900
                                                     Facsimile: 713-772-7085
